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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 HON. THOMAS MASSIE, in his individual and
 official capacities; HON. MARJORIE TAYLOR
 GREENE, in her individual and official capacities;
 HON. RALPH NORMAN, in his individual and               CASE NO. 1:21-CV- 02023-RBW
 official capacities,

                             Plaintiffs,
 v.

 HON. NANCY PELOSI, in her official capacity;
 WILLIAM J. WALKER, in his official capacity;
 CATHERINE SZPINDOR, in her official
 capacity,

                             Defendants.

      PROPOSED ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY
                JUDGMENT AND PERMANENT INJUNCTION

       The Court finds that there are no genuine issues of material fact in dispute, and therefore

Summary Judgment is appropriately granted to Plaintiffs, for the reasons stated in their

Opposition to Defendants’ Motion to Dismiss (DE#35), and their Motion for Summary Judgment

that largely incorporates it (DE#36). The Court finds that that permanent injunctive relief is also

in order. Defendants are hereby ENJOINED to return to Plaintiffs any compensation taken from

them pursuant to H. Res. 38, and may not fine them under H. Res. 38 until after a intervening

general election for Congress intervenes.

IT IS SO ORDERED:



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